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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



Brian Garrett, et al.,

             Plaintiff,

      V.                                   Civil Action 2:18-cv-692

The Ohio State University,                 Judge Michael H. Watson

             Defendant.                    Magistrate Judge Deavers



Steve Snyder Hill, et al..

             Plaintiffs,

      V.                                   Civil Action 2:18-cv-736



The Ohio State University,                 Judge Michael H. Watson

             Defendant.                    Magistrate Judge Deavers



Doe M.B., et al..

             Plaintiffs,

      V.                                   Civil Action 2:19-cv-1911

The Ohio State University,                 Judge Michael H. Watson

             Defendant.                    Magistrate Judge Deavers
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                             OPINION AND ORDER


      Pursuant to Ohio Revised Code Section 4731.22(F)(5), the Court

ORDERS The Ohio State University to provide to Judge Barrett and one

representative from each Plaintiffs' counsel an unredacted version of the Perkins

Cole report ("Report") for use during the Court-ordered mediation portion of this

judicial proceeding. The Report shall be designated "Highly Confidential-

Attorneys' Eyes Only" and shall NOT be filed on the docket at this time.

      Additionally, for the time being, Ohio State's motions to stay discovery are

DENIED. EOF No. 32, Case No. 2:18-cv-692; ECF No. 25, Case No. 2:18-cv-

736. Nevertheless, the Court encourages the parties to focus their efforts on

mediation, and any discovery pursued should be narrowly tailored for the

purposes of mediation. The Court will hold a preliminary pretrial conference to

establish case deadlines after the parties have exhausted their efforts at

mediation.


      IT IS SO ORDERED.




                                      MICHAEL H. WATSON, JUDGE
                                      UNITED STATES DISTRICT COURT




Case Nos. 2:18-cv-692; 2:18-cv-736: 2:19-cv-1911                           Page 2 of 2
